






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS




CEDRIC LAVERT DAVIDSON,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-08-00137-CR



Appeal from the


363rd District Court


of Dallas County, Texas


(TC# F-0725105-W)



MEMORANDUM OPINION

	Pending before the Court is Appellant's motion to dismiss this appeal pursuant to Tex. R.
App. P. 42.2(a), which states that:

	At any time before the appellate court's decision, the appellate court may dismiss the
appeal upon the appellant's motion.  The appellant and his or her attorney must sign
the written motion to dismiss and file it in duplicate with the appellate clerk, who
must immediately send the duplicate copy to the trial court clerk.


	Appellant and his attorney have filed and signed the motion to dismiss.  This Court has not
issued an opinion in this cause, and the Clerk of this Court has forwarded a duplicate of this motion
to the District Clerk of Dallas County, Texas.  As Appellant has complied with the requirements of
Rule 42.2(a), the Court has considered this cause on Appellant's motion and concludes the motion
should be granted, and the appeal should be dismissed.

	We therefore dismiss the appeal.


						GUADALUPE RIVERA, Justice


December 18, 2008


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


